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4     Los Angeles, California 90017-5408
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 5    Fax: (213) 689-0430
6     Attorneys for Defendants
      ANHEUSER-BUSCH INBEV
 7    WORLDWIDE, INC.,
      ANHEUSER-BUSCH, LLC, and
 8    ABANEITA ESOIMEME

9
                               UNITED STATES DISTRICT COURT
10
                             CENTRAL DISTRICT OF CALIFORNIA
11
12    CHRISTINA DEL RIO,                        Case No. 2:16-cv-7786
13                       Plaintiff,
                                                DECLARATION OF MARGARET
14          vs.                                 DRUST IN SUPPORT OF NOTICE OF
                                                REMOVAL OF ACTION TO THE
15    ANHEUSER-BUSCH INBEV                      UNITED STATES DISTRICT COURT
      WORLDWIDE, INC., ANHEUSER-                FOR THE CENTRAL DISTRICT OF
16    BUSCH, LLC; ANHEUSER-BUSCH                CALIFORNIA
      COMPANY, ABANEITA ESOIMEME,
17    and DOES 1 to 100, inclusive,
                                                [Filed concurrently with Notice of
18                       Defendants.            Removal; Declarations of Nicky Jatana,
                                                and Thomas Larson; Civil Cover Sheet;
19                                              Notice of Interested Parties; and Notice of
                                                No Related Cases]
20
21
                                                Complaint Filed:     September 9. 2016
22                                              Trial Date:          None

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       CASE NO.:                                        DECLARATION OF MARGARET DRUST
       DEL RIO v. ANHEUSER-BUSCH INBEV.
       WORLDWIDE ET AL.
     Case 2:16-cv-07786-JFW-KS Document 1-2 Filed 10/19/16 Page 2 of 6 Page ID #:72



1                          DECLARATION OF MARGARET DRUST
2           1.    I am over 18 years old, duly competent to testify in this matter and have
3     personal knowledge of the facts stated herein. I make this Declaration in support of
4     Defendants ANHEUSER-BUSCH INBEV WORLDWIDE INC.'S and ANHEUSER-
5     BUSCH, LLC'S Notice of Removal for purposes of the lawsuit filed by Anheuser-Busch,
6     LLC's former employee, Plaintiff Kristina Del Rio, erroneously named in the Complaint
 7    as CHRISTINA DEL RIO ("Plaintiff').
 8          2.    From on or about February 15, 2010 to the present, I have been the Senior
 9    Manager for the People Department at Anheuser-Busch, LLC's Los Angeles, California
10    brewery. In this capacity, I am responsible for, among other things, preparing and
11    processing personnel and payroll paperwork for bargaining unit employees as well as
12    various other human resources duties.
13          3.    Based on the information set forth in Plaintiff's personnel records, Plaintiff's
14    last known residence is in Los Angeles County, California. Attached hereto as Exhibit
15    "D" is a true and correct copy of Plaintiff's employment application which lists her
16    residence in Canyon Country, California and the correct spelling of her name, "Kristina
17    Kelly Del Rio."
18          4.    Defendant Anheuser-Busch, LLC employed Plaintiff as a bottler from April
19    26, 2003 to March 15, 2016 at its Los Angeles brewery. As a bottler, Plaintiff was a
20    member of the Teamsters Local Union 896, an affiliate of the International Brotherhood
21    of Teamsters. As such, the terms of Plaintiff's employment with Defendant Anheuser-
22    Busch, LLC were governed by a collective bargaining agreement.
23          5.     At the time of her termination of employment, Plaintiff earned
24    approximately $31.60 an hour and typically worked 40 hours a week, which totals to
25    approximately $65,728 annually.
26          6.     Individually named defendant, Abaneita Esoimeme is currently employed by
27    the Metal Container Corporation ("MCC") at MCC's Arnold, Missouri facility.
28

       CASE NO.:                                   2         DECLARATION OF MARGARET DRUST
       DEL RIO v. ANHEUSER-BUSCH INBEV.
       WORLDWIDE ET AL.
      Case 2:16-cv-07786-JFW-KS Document 1-2 Filed 10/19/16 Page 3 of 6 Page ID #:73




              I declare under penalty of perjury, under the laws of the state of California and the
        United States, that the foregoing is true and correct.
              Executed this     f".61   day of October, 2016, at Van Nuys, California.
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                                                 MARGARET DRUST
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        CASE NO.:                                                DECLARATION OF MARGARET DRUST
        )EL RIO v, ANHEUSER-BUSCH INBEV.
        WORLDWIDE ET .11..
Case 2:16-cv-07786-JFW-KS Document 1-2 Filed 10/19/16 Page 4 of 6 Page ID #:74




                         EXHIBIT D
           Case 2:16-cv-07786-JFW-KS Document 1-2 Filed 10/19/16 Page 5 of 6 Page ID #:75




                                                                                                         APPLICATION FOR EMPLOYMENT
                       ALL APPLICANTS WILL OE CONSIDERED WITHOUT REGARD TO RACE, COLOR, RELIGION, AGE, SEX, NATIONAL ORIGIN, DISABILITY, OR SEXUAL ORIENTATION.
             ATTINTIOeb IF A OUESTION DOES NOT APPLY TO YOU, SLARKIHAT GUESTIOIL NOT APPUCADLE OVAL FAILURE TO ANSWER EVERY QUESTION MAY CAUSE TOUR APPUCATIDNTO BE REJECTED.

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  OFFICE EQUIPMENT OPERATED ..1,..; • ' -''' "'                                                                                 SHORTHAND WPM                    tf
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 LAS, PROCESS or OTHER TECHNICAL EQUIPMENT OPERATED                                                -,                      ......u.. • , , ,...-.-..                             -

                                                                         When?                                                             Have you ever been rejected for employment by                                   When?
 Have you ever previously bean                                     If so,                                                                  Anheuser-Busch or any Anheuser-Busch Subsidiary                        II so,
 employed by this Company?                   Cl rES             NO        Where?                                                           due to a posItive drug lest?    fl Yes    No                                    Where?

                                                  0 INTERNET SITE                                                       0 SCHOOL                       0 INTERNAL JOB POSTING             D EMPLOYMENT I GOVERNMENT AGENCY
  Source through which you emptied                0 ADVERTISEMENT                                                       0 SEARCH FIRM                  q  EMPLOYEE I RETIREE              CI OTHER (EXPLAIN)

 NAME OF RELATIVE(S) EMPLOYED BY THIS COMPANY?
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 cornekted oi a felony?               0 YES           HO                                                                                                                                               proof of right to work hi U.S.             YES     CI NO

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Graduate School                                                                                                                                            I     2       3   4
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Nature of Rsolsearch and Mehl) dThestsiee).
         t‘-liP                                                                                                                               Were you In the U. S. Armed Forces?          0 YES                     II Yes, Whet Branch?
UM current plokseetenei licensee end yoglatrallons. Give state, trench, certekale number end eaptr etbn dale                                 [Lambe Job R Wad eatery Trairklog

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UM any lob *Mod            o or hobbies,                         -                                                                           Rank al DI        ergo.
                  Case 2:16-cv-07786-JFW-KS Document 1-2 Filed 10/19/16 Page 6 of 6 Page ID #:76




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        MAY WE REFER TO. YOUR PRESENT EMPLOYER?                   "q YEs
 I UNDERSTAND THAT ANY UNANSWERED QUESTIONS) ON THIS APPLICATION MAY CAUSE THIS APPLICATION TO BE REJECTED AND THAT ANY FALSE OR MISLEADING STATEMENTS ONTHIS APPUCATION MAY BE
 CAUSE FOR DISMISSAL WITHOUT NOTICE.
 I AGREE TO ABIDE BY ALL THE RULES OF THE COMPANY AND THE INSTRUCTIONS OF MY SUPERVISORS. I WILL USE AND WEAR ALL SAFETY APPLIANCES FURNISHED TO ME BY THE COMPANY AND WILL BE CARE.
 FUL NOT TO EXPOSE MYSELF OR FELLOW WORKERS TO UNNECESSARY DANGERS.
 FAIR CREDIT REPORTING ACT DISCLOSURE:
I UNDERSTAND THAT THE INFORMATION PROVIDED ON MY EMPLOYMENT APPLICATION IS SUBJECT TO VERIFICATION THROUGH AN OUTSIDE AGENCY BEFORE OR AFTER AN OFFER OF EMPLOYMENT.
I UNDERSTAND THAT THE COMPANY RESERVES THE RIGHT TO VERIFY ALL INFORMATION CONTAINED IN THIS APPLICATION THROUGH THE USE OF BACKGROUND CHECKS, CONSUMER REPORTS, ANDOR CREDIT
 REPORTS WHICH WILL INCLUDE A REVIEW OF MY WORK EXPERIENCE, EDUCATION, CRIMINAL RECORD AND DRIVING RECORD, INCLUDING DINT/DUI AND ADMINISTRATIVE SUSPENSIONS.
I UNDERSTAND THAT CERTAIN CATEGORIES OF roes REQUIRE APPLICANTS TO TAKE AND PASS WRITTEN TESTS OR MECHANICAL ABILITIES TESTS AND THAT, IF NECESSARY, I MAY REQUEST AN ACCOMMODATION
 TO ASSIST MY TAKING OF ANY SUCH TEST.
I AGREE THAT ALL FORMER EMPLOYERS OR ANY OTHER PERSONS, MAY FURNISH ANHEUSER-BUSCH COMPANIES WITH ALL INFORMATION REGARDING THEIR RECORD OF MY SERVICE, CHARACTER, AND REASON
FOR LEAVING I HEREBY RELEASE SUCH FORMER EMPLOYERS AND PERSONS FROM ALL LIABILITY FOR PROVIDING SUCH INFORMATION,
I AGREE THAT IF I AM EMPLOYED BY THIS COMPANY. A FULL TRANSCRIPT OF MY RECORDS AS AN EMPLOYEE. INCLUDING REASON FOR TERMINATION. MAY BE GIVEN TO A PROSPECTIVE FUTURE EMPLOYER ON
inS/VIER REQUEST, AND DO HEREBY RELEASE THIS COMPANY FROM ANY AND ALL LIABILITY OF DAMAGES WHATSOEVER IN FURNISHING SUCH INFORMATION.
I AC   ' THAT IF I BECOME EMPLOYED BY THE COMPANY, AND UNLESS A WRITTEN CONTRACT PROVIDES TO THE CONTRARY, ANY CLAIM I MAY HAVE AGAINST THE COMPANY WILL BE SUBJECT TO FINAL
 ANC     DING ARBITRATION IN ACCORDANCE WITH THE COMPANY'S DISPUTE RESOLUTION PROGRAM, AND THAT ARBITRATION WILL BE THE EXCLUSIVE METHOD I WILL HAVE FOR FINAL AND BINDING
REsixurioN OF ANY SUCH CLAIM.
I UNDERSTAND THAT MY EMPLOYMENT MAY BE CONTINGENT UPON PASSING A PREEMPLOYMENT PHYSICAL EXAMINATION.
I UNDERSTAND THAT MY EMPLOYMENT IS CONTINGENT UPON PASSING A DRUG TEST (HAIR AND URINE), BACKGROUND CHECK, EMPLOYMENT OF RELATIVES AND CONFLICT OF INTERESTS REVIEW. IN ACOMON,
MY EMPLOYMENT WILL BE CONTINGENT UPON THE VERIFICATION OF MY RIGHT TO WORK IN THE U S.
I ACKNOWLEDGE THAT NO PROMISE REGARDING EMPLOYMENT HAS BEEN MADE TO ME. I UNDERSTAND THAT IF I AM EMPLOYED BY THE COMPANY THAT I HAVE THE RIGHT TO TERMINATE MY
EMPLOYMENT AT ANYTIME. AND THAT THE COMPANY HAS A SIMILAR RIGHT.
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SIGNATURE OF APPLICANT                 i 1/ L/--"
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Comments: (For Company Use Only)




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